  Case 4:23-cv-00095-O Document 41-1 Filed 03/30/23               Page 1 of 2 PageID 572



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 WILLIAM T. MOCK; et al.,

                                    Plaintiffs,
        v.
                                                      Civil Action No. 4:23-cv-00095-O
 MERRICK GARLAND, in his official
 capacity as Attorney General of the United States;
 et al.,

                                    Defendants.

[PROPOSED] ORDER GRANTING MOTION FOR INJUNCTION PENDING APPEAL

       Before the Court is a Motion for Injunction Pending Appeal filed by Plaintiffs William T.

Mock; Christopher Lewis; Maxim Defense Industries, LLC; and Firearms Policy Coalition, Inc.

Defendants oppose the Motion.

       Upon consideration of Plaintiffs’ opposed Motion, it is hereby ORDERED that the Motion

for an Injunction Pending Appeal is GRANTED.

       It is further ORDERED that Defendants and their officers, agents, servants, and employees

are enjoined from implementing and enforcing the provisions established and amended by the

Department of Justice and Bureau of Alcohol, Tobacco, Firearms, and Explosives’ Final Rule

entitled Factoring Criteria for Firearms with Attached ‘Stabilizing Braces,’ 88 Fed. Reg. 6,478

(Jan. 31, 2023), during the pendency of Plaintiffs’ appeal from this Court’s Opinion and Order,

ECF No. 40.




                                                  1
Case 4:23-cv-00095-O Document 41-1 Filed 03/30/23   Page 2 of 2 PageID 573



    Signed this _______________, 2023.




                               UNITED STATES DISTRICT JUDGE REED O’CONNOR




                                         2
